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                        EXHIBIT P
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     Attorneys for Plaintiffs
12
                           IN THE UNITED STATES DISTRICT COURTS
13                        FOR THE EASTERN DISTRICT OF CALIFORNIA
14                       AND THE NORTHERN DISTRICT OF CALIFORNIA
                  UNITED STATES DISTRICT COURT COMPOSED OF THREE JUDGES
15
                   PURSUANT TO SECTION 2284, TITLE 28 UNITED STATES CODE
16
     RALPH COLEMAN, et al.,                                  )   No.: Civ S 90-0520 LKK-JFM P
17                                                           )
                    Plaintiffs,                              )   THREE-JUDGE COURT
18                                                           )
            vs.                                              )
19                                                           )
     ARNOLD SCHWARZENEGGER, et al.,                          )
20                                                           )
                    Defendants                               )
21                                                           )
     MARCIANO PLATA, et al.,                                 )   No. C01-1351 T.E.H
22                                                           )
                    Plaintiffs,                              )   THREE-JUDGE COURT
23          vs.                                              )
                                                             )
24 ARNOLD SCHWARZENEGGER, et al.,                            )
                                                             )   PLAINTIFF PLATA’S FIRST SET OF
25          vs.                                              )   INTERROGATORIES TO DEFENDANT
                    Defendants                               )   TILTON
26
27
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        PLAINTIFF PLATA’S FIRST SET OF INTERROGATORIES TO DEFENDANT TILTON, NOS.: CIV S 90-0520 LKK-JFM P, C01-1351 T.EH
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 1   PROPOUNDING PARTIES:                      PLAINTIFF MARCIANO PLATA
 2   RESPONDING PARTIES:                       DEFENDANT TILTON
 3   SET NUMBER:                               ONE
 4          TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
 5          PLEASE TAKE NOTICE that, pursuant to Federal Rules of Civil Procedure Rule 33,
 6   Plaintiff Marciano Plata submits the following Set of Interrogatories to all Defendants
 7   (“Defendants”) to be answered separately and fully in writing, under oath, based upon all
 8   knowledge reasonably available to them, within 30 days after service hereof.
 9                                                   DEFINITIONS
10          1.       “YOU” and “YOURS” as used herein refers to Defendant Tilton, and any agents,
11   representatives, attorneys, and all other persons or entities acting on his behalf.
12          2.       As used herein, the term “IDENTIFY,” when used with respect to a person,
13   means to state the following: name of entity; telephone number; location of its business and
14   nature of its business.
15          3.       As used herein, the term “IDENTIFY,” when used with respect to a document,
16   means to state the following, if available, for each document: the name(s) of the author(s) and
17   the recipient(s); the date; the title; the form of document (e.g. letter, memorandum, report,
18   chart or other descriptive term); a description of the contents of the document; and its present
19   or last known location and custodian. If you claim that any such document was, but is no
20   longer, in your possession or subject to your control, state what disposition was made of such
21   document and when. Documents to be identified shall include both documents in your
22   possession, custody and control, and all other documents of which you have knowledge. To
23   the extent that the answers to the preceding questions are determinable by an examination of
24   the document itself, you may respond by supplying such document as part of your answers to
25   these interrogatories so long as you identify the interrogatory to which such document is
26   responsive.
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        PLAINTIFF PLATA’S FIRST SET OF INTERROGATORIES TO DEFENDANT TILTON, NOS.: CIV S 90-0520 LKK-JFM P, C01-1351 THE
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 1          4.       “REFER” or “RELATE TO” means constituting, representing, defining,
 2   depicting, concerning, embodying, reflecting, identifying, stating, mentioning, addressing, or
 3   pertaining to the subject matter of the request, directly or indirectly, in whole or in part.
 4          5.       The terms “and,” “or,” and “and/or” should be construed disjunctively or
 5   conjunctively as necessary to make the request inclusive rather than exclusive.
 6          6.       “CDCR PRISON” and “PRISONS” mean any and all facilities in which class
 7   members in this litigation are or can be incarcerated.
 8          7.       “PLATA CLASS MEMBERS” or “PLAINTIFFS” means the class of state
 9   prisoners with serious medical illness.
10          8.       The term PRISONER RELEASE ORDER means any order “that has the purpose
11   or effect of reducing or limiting the prison population, or that directs the release from or
12   nonadmission of prisoners to prison” as set forth in the Prison Litigation Reform Act at 18
13   U.S.C. §3626(g)(7).
14                                                 INSTRUCTIONS
15          The preceding definitions apply to each interrogatory and are deemed incorporated in
16   each of the following interrogatories and these instructions.
17          1.       In answering these interrogatories, quote each interrogatory before each answer.
18          2.       These interrogatories shall be deemed to be continuing interrogatories so as to
19   require proper supplemental answers if further information is obtained or developed by you or
20   your counsel after the time that you serve answers to these interrogatories.
21          3.       In answering these interrogatories, furnish all information available to you,
22   including information in the possession of your employees, attorneys, or otherwise subject to
23   your possession and/or control, and not merely information known of your own personal
24   knowledge.
25          4.       If you cannot answer a particular interrogatory in full after exercising due
26   diligence to secure the information to do so, answer to the extent possible, specify your
27   inability to answer the remainder, state whatever knowledge you have concerning the
28   unanswered portion.

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        PLAINTIFF PLATA’S FIRST SET OF INTERROGATORIES TO DEFENDANT TILTON, NOS.: CIV S 90-0520 LKK-JFM P, C01-1351 THE
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 1             For each such action, program, policy or procedure IDENTIFIED in YOUR response to
 2    interrogatory number thirteen, state the time frame for implementation, the size of the
 3    anticipated population reduction, and the date by which the population reduction will be
 4    effected.
 5    INTERROGATORY NO. 12:
 6             IDENTIFY each and every population model relied upon for YOUR                      answer     to
 7    interrogatory fourteen by its source, including but not limited to author, entity, and publication.
 8    INTERROGATORY NO. 13:
 9             IDENTIFY any and all lockdowns or partial lockdowns,                including dates and duration,
10    that affected housing units housing PLATA CLASS MEMBERS at CDCR PRISONS since
11    March 3, 2006.
12
13    Dated:                                                     Respectfully submitted,
14
15
16                                                               Don   Specter
17                                                               Prison Law Office
                                                                 Attorneys for Plaintiffs
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          PLAINTIFF PLATA'S FIRST SET OF INTERROGATORIES TO DEFENDANT TILTON, NOS.: CIV S 90-0520 LKK-JFM   P, C01o1351 THE
